Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 1of6

The New York Times
Company
a 1:25-mc-00008
Ssigned To : Boasberg, Ja
Charlie Savage February 10, 2025 Assign. Date 7 2/1 0/2095 mes e
T 202 862 0300 Description: Misc.

VIA ONLINE DELIVERY

savage@nytimes.com

1627 I Street NW, Suite 700 ; 5
Washington, DC 20006 Hon. Chief U.S. District Court Judge James E. Boasberg

E. Barrett Prettyman United States Courthouse
333 Constitution Avenue NW
Washington, DC 20001

Dear Chief Judge Boasberg,

This is a petition that the court unseal certain litigation materials ancillary
to the grand jury investigations that led to the federal cases against President
Donald J. Trump regarding his efforts to overturn his loss of the 2020
election and his retention of classified documents after leaving office.
Specifically, I request that the court please unseal all ancillary opinions and
orders, along with related dockets, hearing transcripts and pleadings filed
by the government, witnesses, subjects and targets, from pre-indictment
litigation over claims of attorney-client and attorney work product privilege.
The public and the press have a First Amendment right of access to judicial
records, and especially now that the cases against Trump are closed,!
disclosure of materials regarding litigation over attorney-related privileges
in this historic matter would be lawful and appropriate under Federal Rule
of Criminal Procedure 6(e).

To recap, last October, the court unsealed similar ancillary materials related
to assertions of executive privilege in the election case investigation. That
disclosure grew out of two petitions filed in October 2022, one by The New
York Times and myself and the other by Politico and its reporter Kyle
Cheney. We filed those requests at a time when there had already been news
reports about the grand jury investigation, including that it had been slowed

' While the government dropped both the election and classified documents cases against
Trump because he won the 2024 election, as of this writing, the remnants of the classified
documents case remain technically active. Specifically, while a trial judge dismissed the
entire case on a theory that the special counsel had been appointed improperly, the
government appealed that dismissal to the U.S. Court of Appeals for the Eleventh Circuit.
That matter remains technically active for Trump’s two codefendants. However, more
than a week ago, the government has filed an unopposed motion to dismiss the remnants
of the case as to them, too.
Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 2 of 6

by executive privilege disputes. But the government opposed any unsealing,
arguing that despite the widespread media coverage of the investigation and
privilege disputes, they had not been formally disclosed in public. In
February 2023, your predecessor as chief, Judge Beryl Howell, ruled
against us on the grounds that news reporting alone, in the absence of formal
public acknowledgement, was insufficient. At that point, The Times
dropped out of the litigation, but Politico appealed. Before the U.S. Court
of Appeals for the District of Columbia Circuit addressed the matter, the
special counsel, Jack Smith, obtained an indictment of Trump, and several
open court that there had indeed been pre-trial litigation regarding executive
privilege and the scope of grand jury testimony for witnesses. Citing that
intervening formal disclosure, a panel of the D.C. Circuit in April 2024
vacated Judge Howell’s ruling and sent the case back to the district court
for reconsideration based on the following rationale:

Courts may unseal records containing matters occurring before a
grand jury only if the matters have already been publicly disclosed
... Here, the Office of Special Counsel that empaneled the grand
jury publicly disclosed that grand-jury witnesses invoked executive
privilege and that the district court held hearings to resolve those
claims. That disclosure, coupled with the press’s extensive reporting
about the privilege disputes, makes it possible that the underlying
privilege disputes, or at least the aspects of them that have been
publicly disclosed, are so widely known that they are no longer
protected by Rule 6(e).

The Justice Department did not dispute that the legal standard had been met
to disclose the executive privilege litigation records. It curated a set and
submitted them to this court, which on October 24, 2024, ordered those
materials unsealed and posted on the public docket.

The same standard is met for the attorney-related privilege disputes in these
two closed investigations. Both are widely known through a combination of
having been reported on by the press and then formally disclosed in public
court proceedings.
Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 3of6

In the election case, the press reported on the attorney-related privilege
disputes alongside the executive privilege disputes. See, e.g., Alan Feuer
and Maggie Haberman, “Trump Lawyers Push to Limit Aides’ Testimony
in Jan. 6 Inquiry,” The New York Times, Sept. 23, 2022 (reporting that the
“closed-door battle, unfolding in Federal District Court in Washington, has
centered on how far Mr. Trump can go in asserting attorney-client and
executive privilege as a means of keeping witnesses close to him from
answering potentially damaging questions in their appearances before the

grand jury”).

And the Office of the Special Counsel publicly acknowledged that grand-
jury witnesses invoked attorney-related privileges, leading to court orders
requiring the production of material claimed to be privileged. Specifically,
Smith’s team on October 10, 2023, publicly docketed a filing entitled,
“Government’s Opposed Motion for Formal Pretrial Notice of the
Defendant’s Intent to Rely on Advice-of-Counsel Defense.” It stated:

During the course of the Government’s investigation, at least 25
witnesses withheld information, communications, and documents
based on assertions of the attorney-client privilege under
circumstances where the privilege holder appears to be the
defendant or his 2020 presidential campaign. These included co-
conspirators, former campaign employees, the campaign itself,
outside attorneys, a non-attorney intermediary, and even a family
member of the defendant.

The Government produced in discovery the privilege logs for each
witness who withheld material on the basis of a claim of privilege
on behalf of the defendant or his campaign, and in some cases the
defendant’s campaign was directly involved in discussions
regarding privilege during the course of the investigation. In other
instances, the Government produced court orders requiring the
production of material claimed to be privileged.
Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 4of6

This public disclosure by prosecutors, coupled with the press’s reporting,
means that the underlying attorney-related privilege disputes in the Jan. 6
inquiry are so widely known that they are no longer protected by Rule 6(e).?

The standard is just as clearly met for unsealing the attorney-related
privilege litigation records from the classified documents grand-jury
investigation.

. Once again, the press reported on the closed-door attorney-related privilege
fights involving two lawyers for Trump, M. Evan Corcoran and Jennifer
Little. See, e.g., Alan Feuer and Maggie Haberman, “Judge Rules Trump
Lawyer Must Testify in Documents Inquiry,” The New York Times, March
17, 2022 (reporting that Judge Howell had ruled that prosecutors overseeing
the classified documents investigation could pierce assertions of attorney-
client privilege and compel Corcoran to answer questions before the grand
jury that he had sought to avoid); Maggie Haberman and Alan Feuer,
“Lawyer Told Trump Defying Documents Subpoena Would Be a Crime,”
The New York Times, Nov. 29, 2022 (reporting that Little was initially
subpoenaed to appear before the grand jury on Jan. 25 of that year but, like
Corcoran, asserted attorney-client privilege in an attempt to avoid providing

? It is also no secret that various lawyers who were witnesses or unindicted co-
conspirators in the election case tried to withhold information based on attorney-related
privileges in other contexts. For example, Judge Howell earlier unsealed memorandum
opinions she wrote on June 27 and September 27, 2022, and a related Sept. 27, 2022,
order, from a fight over whether a filter team could tum over to the investigative team
materials involving the lawyers John Eastman, Jeffrey Clark and Ken Klukowski that the
government obtained via search warrants served on third-party email providers.
Subpoenas from the House committee that investigated the Jan. 6 Capitol riot and from
the Fulton County Special Grand Jury investigating the 2020 election also resulted in
publicly acknowledged attempts to withhold information based on attorney-related
privileges. See, e.g, the March 28. 2022. ruling by Judge David O. Carter of the Central
District of California that the crime-fraud exemption applied to Chapman University

his invocation of the privilege in the Fulton County inquiry; a Sept. 20, 2023, motion to
exclude legal memoranda and affiliated correspondence by attorneys for Kenneth
Chesebro in his Fulton County case stating that at Trump’s direction, “Mr. Chesebro has
consistently asserted the attorney-client privilege and work-product provision over these
documents (January 6 Committee interview, Fulton County Grand Jury proceedings,
etc.)”5 etc.

Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 5of6

testimony, until Judge Howell that March ruled that the crime-fraud
exception applied).

And once again, court filings — this time by defense attorneys as well as
prosecutors — openly discussed, in detail, that Judge Howell had held
hearings to resolve claims of attorney-related privilege. These disclosures
are found in a defense filing entitled “President Trump’s Motion for Relief
Relating to the Mar-a-Lago Raid and Unlawful Piercing of Attorney Client
Privilege,” which describes and quotes from a February 7, 2023, motion to
compel; a March 9 hearing; and Judge Howell’s partial grant and partial
denial of the motion, including the compelled production of documents,
recordings and testimony. Attached to this filing, though redacted in the
version that was publicly docketed on May 21, 2024, were the relevant court
records. Also on May 21, the government’s opposition to that motion was
docketed. It succinctly described the matter thus:

A grand jury in the District of Columbia subpoenaed Trump
Attorney 1 and Trump Attorney 2 to provide testimony and
documents. Both attorneys withheld evidence on the ground that it
should be kept secret under the attorney-client and work-product
privileges. The Government filed a motion with the then-Chief
Judge of the District of Columbia (Hon. Beryl A. Howell), who
supervises grand jury proceedings in that district, to compel
testimony and documents from Trump Attorney | and Trump
Attorney 2 on the basis that the crime-fraud exception vitiated the
attorney-client and work product privileges. See Def. Exs. 15, 16.
After receiving briefing and argument, including from Trump, the
court partially granted the Government’s motion. See Def. Ex. 18
(memorandum opinion); Def. Exs. 17, 19 (orders). Trump and
Trump Attorney 1 both filed appeals and motions for stays of the
court’s order pending their appeals, but both the Chief Judge of the
District of Columbia (Hon. James E. Boasberg) and the D.C. Circuit
denied the stay motions. Trump Attorney 1 and Trump Attorney 2
testified before the grand jury in compliance with the court’s order,
and Trump Attorney 1 produced documents, including a redacted
version of his notes of meetings with Trump. Both Trump Attorney
1 and Trump voluntarily dismissed their appeals in the D.C. Circuit.
Case 1:25-mc-00008-JEB Document1 Filed 02/10/25 Page 6 of 6

This public disclosure by both defense lawyers and prosecutors, coupled
with the press’s reporting, means that the attorney-related privilege disputes
in the classified documents inquiry, too, are also so widely known that they
are no longer protected by Rule 6(e).

In sum, the disclosure of both sets of materials would be both lawful and
appropriate. Thank you for your consideration of this petition.

Sincerely,

CBaL-Dovere

Charlie Savage
Washington Correspondent
The New York Times
